IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
HARRISONBURG DIVISION
UNITED STATES OF AMERICA
Vv. : Case No. 5:15CR00020

WARREN EVANS, JR.

 

I have agreed to enter into a plea agreement with the United States of America
pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure. Under the
terms of this agreement, I am pleading guilty to Counts 1 and 2 of the Indictment in
exchange for a sentence of imprisonment of between 282 months (23.5 years) and 372
months (31 years). It is the purpose of this plea agreement to accomplish this end. I
agree that a sentence of imprisonment within this range is a reasonable sentence for my
conduct charged, considering all of the facts and circumstances of this case. The terms
and conditions of this agreement are as follows:

 

A. CHARGE(S) TO WHICH I AM PLEADING GUILTY AND WAIVER OF

 

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My attorney has informed me of the nature of the charge(s) and the elements of
the charge(s) that must be proved by the United States beyond a reasonable doubt before
I could be found guilty as charged.

I will enter a plea of guilty to Counts 1 and 2 of the Indictment.

Count 1 charges me with conspiracy to distribute and to possess with the intent to
distribute: (a) 1,000 grams or more of heroin, a Schedule I controlled substance, in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A); (6) 280 grams or more of cocaine
base (“crack”), a Schedule II controlled substance, in violation of 21 U.S.C. § 841(a)(1)
and 841(b)(1)(A); and (c) cocaine, a Schedule II controlled substance, in violation of 21
U.S.C. § 841(a)(1) and 841(b)(1)(C), all in violation of 21 U.S.C. §§ 846, 841(b)(1)(A),
and 841(b)(1)(C). Under 21 U.S.C. §§ 846 and 841(b)(1)(A), the maximum statutory

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penalty is a fine of $10,000,000 and/or imprisonment for a term of life, plus a term of
supervised release of at least five years. There is a mandatory minimum sentence of
imprisonment for a term of ten years. Under 21 U.S.C. §§ 846 and 841(b)(1)(C), the
maximum statutory penalty is a fine of $1,000,000 and/or imprisonment for a term of
twenty years, plus a term of supervised release of at least three years.

Count 2 charges me with conspiracy to distribute heroin, the use of which resulted
in the serious bodily injury and death of R.F.L. on or about March 19, 2014, in violation
of 21 U.S.C. §§ 846 and 841(b)(1)(C). The maximum statutory penalty is a fine of
$1,000,000 and/or imprisonment for a term of life, plus a term of supervised release of at
least three years. There is a mandatory minimum sentence of imprisonment for a
term of twenty years.

I understand that if I were convicted of any instance of distribution of heroin
resulting in serious bodily injury or death, or if I were convicted of a 1,000-gram
heroin or a 280-gram crack conspiracy, and a notice were pursued against me under
21 U.S.C. § 851 based upon my prior qualifying drug convictions, I would be subject
to a mandatory minimum term of imprisonment for a term of life. I understand
that if I were charged under 18 U.S.C. § 924(c), I would be subject to additional
mandatory minimum penalties, as well.

I understand restitution may be ordered, my assets may be subject to forfeiture,
and fees may be imposed to pay for incarceration and supervised release. In addition, a
$100 special assessment, pursuant to 18 U.S.C. § 3013, will be imposed per felony count
of conviction. I further understand my supervised release may be revoked if I violate its
terms and conditions. I understand a violation of supervised release increases the
possible period of incarceration.

I am pleading guilty as described above because I am in fact guilty and because I
believe it is in my best interest to do so, and not because of any threats or promises.

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2. Waiver of Constitu ea of Guilt

        

I acknowledge I have had all of my rights explained to me and I expressly
recognize I have the following constitutional rights and, by voluntarily pleading guilty, I
knowingly waive and give up these valuable constitutional rights:

a. The right to plead not guilty and persist in that plea;

b. The right to a speedy and public jury trial;

c. The right to assistance of counsel at that trial and in any subsequent appeal;
d. The right to remain silent at trial;

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The right to testify at trial;

The right to confront and cross-examine witnesses called by the government;
The right to present evidence and witnesses in my own behalf;

The right to compulsory process of the court;

The right to compel the attendance of witnesses at trial;

The right to be presumed innocent;

The right to a unanimous guilty verdict; and

The right to appeal a guilty verdict.

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NTENCING PROVISIONS
1. General Matters

Pursuant to Fed. R. Crim. P. 11(c)(1)(C), the United States and I agree I shall
be sentenced to a period of incarceration within the range of 282 months (23.5
years) to 372 months (31 years). The parties agree that a sentence within this range is a
reasonable sentence considering all of the facts and circumstances of this case. I
understand the Court must sentence me within this range or reject the plea agreement. If,
and only if, the Court rejects the plea agreement, I will be given an opportunity to
withdraw my guilty plea. The United States and I agree all other sentencing matters,
including but not limited to supervised release, fines, and restitution, are left to the
Court’s discretion. Because the parties have stipulated the agreed-to sentence of
imprisonment is reasonable regardless of any guidelines calculations, I waive any right I
may have to any future reduction in sentence based on a change in the sentencing
guidelines.

I understand I will have an opportunity to review a copy of my presentence report
in advance of my sentencing hearing and may file objections, as appropriate. I will have
an opportunity at my sentencing hearing to present evidence, bring witnesses, cross-
examine any witnesses the government calls to testify, and argue to the Court what an
appropriate sentence should be within the confines of the terms of this agreement.

I understand I will not be eligible for parole during any term of imprisonment
imposed.

2. Sentencing

 

Under the terms of this plea agreement, the United States is not filing any notice of
enhancement under 21 U.S.C. § 851, which would have subjected me to increased
mandatory minimum penalties based upon my prior qualifying felony drug offenses.

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I stipulate and agree that all matters pertaining to any of the counts of the charging
document(s) and as outlined in the Statement of Facts, filed concurrently herewith, are
relevant conduct for purposes of sentencing.

The parties agree the 2015 edition of the United States Sentencing Guidelines
Manual applies to any guidelines calculation made pertaining to my offense(s). I
stipulate that the following guideline section(s) apply to my conduct:

 

2D1.1(a)(2) | 38 | Death and serious bodily injury resulted from the use of the
heroin

 

 

 

 

 

2D1.1(b)(1) | +2 | A firearm(s) was possessed

 

The United States stipulates that the guideline section(s) set forth in this section
should apply to my conduct.

I could also potentially be subject to a base offense level of 43 pursuant to
U.S.S.G. § 2D1.1(a)(1), based upon my prior drug convictions. I further understand
that because of my prior criminal record I may be treated as a “Career Offender”
under Guideline Section 4B1.1, if the Court determines I have at least two prior
convictions for felony drug offenses and/or crimes of violence.

I understand other guideline sections may be applicable to my case and the United
States and I will be free to argue whether these sections should or should not apply; to the
extent the arguments are not inconsistent with the stipulations, recommendations, and
terms set forth in this plea agreement.

I agree to accept responsibility for my conduct.

 

I understand persons convicted of crimes are required to pay a mandatory
assessment of $100.00 per felony count of conviction. I agree I will submit to the U.S.
Clerk’s Office, a certified check, money order, or attorney’s trust check, made payable to
the “Clerk, U.S. District Court” for the total amount due for mandatory assessments prior
to entering my plea of guilty.

I agree to pay restitution for the entire scope of my criminal conduct, including,
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but not limited to, all matters included as relevant conduct. In addition, I agree to pay
any restitution required by law, including, but not limited to, amounts due pursuant to 18
USC §§ 2259, 3663, and/or 3663A. I understand and agree a requirement I pay
restitution for all of the above-stated matters will be imposed upon me as part of any final
judgment in this matter.

I further agree to make good faith efforts toward payment of all mandatory
assessments, restitution and fines, with whatever means I have at my disposal. I agree
failure to do so will constitute a violation of this agreement. I will execute any
documents necessary to release the funds I have in any repository, bank, investment,
other financial institution, or any other location in order to make partial or total payment
toward the mandatory assessments, restitution and fines imposed in my case.

I fully understand restitution and forfeiture are separate financial obligations
which may be imposed upon a criminal defendant. I further understand there is a process
within the Department of Justice whereby, in certain circumstances, forfeited funds may
be applied to restitution obligations. I understand no one has made any promises to me
that such a process will result in a decrease in my restitution obligations in this case.

I understand and agree, pursuant to 18 U.S.C. §§ 3613 and 3664(m), whatever
monetary penalties are imposed by the Court will be due immediately and subject to
immediate enforcement by the United States as provided for by statute. I understand if
the Court imposes a schedule of payments, that schedule is only a minimum schedule of
payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment.

I agree to grant the United States a wage assignment, liquidate assets, or complete
any other tasks which will result in immediate payment in full, or payment in the shortest
time in which full payment can be reasonably made as required under 18 U.S.C. §
3572(d).

I agree the following provisions, or words of similar effect, should be included as
conditions of probation and/or supervised release: (1) “The defendant shall notify the
Financial Litigation Unit, United States Attorney’s Office, in writing, of any interest in
property obtained, directly or indirectly, including any interest obtained under any other
name, or entity, including a trust, partnership or corporation after the execution of this
agreement until all fines, restitution, money judgments and monetary assessments are
paid in full” and (2) “The Defendant shall notify the Financial Litigation Unit, United
States Attorney’s Office, in writing, at least 30 days prior to transferring any interest in
property owned directly or indirectly by Defendant, including any interest held or owned
under any other name or entity, including trusts, partnership and/or corporations until all

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fines, restitution, money judgments and monetary assessments are paid in full.”

The parties will also jointly recommend that as a condition of probation or
supervised release, Defendant will notify the Financial Litigation Unit, United States
Attorney’s Office, before Defendant transfers any interest in property owned directly or
indirectly by Defendant, including any interest held or owned under any other name or
entity, including trusts, partnership and/or corporations. See 18 U.S.C. § 3664(k), (n).

Regardless of whether or not the Court specifically directs participation or
imposes a schedule of payments, I agree to fully participate in inmate employment under
any available or recommended programs operated by the Bureau of Prisons.

I agree any payments made by me shall be applied fully to the non-joint and
several portion of my outstanding restitution balance until the non-joint and several
portion of restitution is paid in full, unless the Court determines that to do so would cause
a hardship to a victim of the offense(s).

b. Duty to Make Financial Disclosures

   

I understand in this case there is a possibility substantial fines and/or restitution
may be imposed. In order to assist the United States as to any recommendation and in
any necessary collection of those sums, I agree, if requested by the United States, to
provide a complete and truthful financial statement to the United States Attorney’s
Office, within 30 days of the request or 3 days prior to sentencing, whichever is earlier,
detailing all income, expenditures, assets, liabilities, gifts and conveyances by myself, my
spouse and my dependent children and any corporation, partnership or other entity in
which I hold or have held an interest, for the period starting on January Ist of the year
prior to the year my offense began and continuing through the date of the statement. This
financial statement shall be submitted in a form acceptable to the United States
Attormmey’s office.

From the time of the signing of this agreement or the date I sign the financial
statement, whichever is earlier, I agree not to convey anything of value to any person
without the authorization of the United States Attorney’s Office. I agree to take and pass
a polygraph examination conducted by a qualified law enforcement examiner selected by
the United States Attorney’s Office, if requested to do so, concerning the accuracy of my
financial statement.

c. Understanding of Collection Matters

   

I understand:

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1. as part of the judgment in this case I will be ordered to pay one or more
monetary obligations;

2. payment should be made as ordered by the Court;

3. I must mail payments, by cashier’s check or money order, payable to the
“Clerk, U.S. District Court” to: 210 Franklin Road, S.W., Suite 540, Roanoke,
Virginia 24011; and include my name and court number on the check or
money order;

4. interest (unless waived by the Court) and penalties must be imposed for late or
missed payments;

5. the United States may file liens on my real and personal property that will
remain in place until monetary obligations are paid in full, or until liens expire
(the later of 20 years from date of sentencing or release from incarceration);

6. if I retain counsel to represent me regarding the United States’ efforts to collect
any of my monetary obligations, I will immediately notify the United States
Attorney’s Office, ATTN: Financial Litigation Unit, P.O. Box 1709, Roanoke,
Virginia 24008-1709, in writing, of the fact of my legal representation; and

7. I, or my attorney if an attorney will represent me regarding collection of
monetary obligations, can contact the U.S. Attorney’s Office’s Financial
Litigation Unit at 540/857-2259.

C. ADDITIONAL MATTERS

1. Waiver of Right to Appeal

   

Knowing that I have a right of direct appeal of my sentence under 18 U.S.C. §
3742(a) and the grounds listed therein, I expressly waive the right to appeal my sentence
on those grounds or on any ground. In addition, I hereby waive my right of appeal as to
any and all other issues in this matter and agree I will not file a notice of appeal. I am
knowingly and voluntarily waiving any right to appeal. By signing this agreement, I am
explicitly and irrevocably directing my attorney not to file a notice of appeal.
Notwithstanding any other language to the contrary, I am not waiving my right to
appeal or to have my attorney file a notice of appeal, as to any issue which cannot be
waived, by law. 1 understand the United States expressly reserves all of its rights to
appeal. I agree and understand if I file any court document (except for an appeal
based on an issue that cannot be waived, by law, or a collateral attack based on
ineffective assistance of counsel) seeking to disturb, in any way, any order imposed
in my case such action shall constitute a failure to comply with a provision of this
agreement.

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ight to Collaterally Attack

 

I waive any right I may have to collaterally attack, in any future proceeding, any
order issued in this matter, unless such attack is based on ineffective assistance of
counsel, and agree I will not file any document which seeks to disturb any such order,
unless such filing is based on ineffective assistance of counsel. I agree and understand
that if I file any court document (except for an appeal based on an issue not
otherwise waived in this agreement; an appeal based on an issue that cannot be
waived, by law; or a collateral attack based on ineffective assistance of counsel)
seeking to disturb, in any way, any order imposed in my case, such action shall
constitute a failure to comply with a provision of this agreement.

3. Information Access Waiver

   

I knowingly and voluntarily agree to waive all rights, whether asserted directly or
by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case, including
without limitation any records that may be sought under the Freedom of Information Act,
5 U.S.C. §552, or the Privacy Act of 1974, 5 U.S.C. §552a.

4. Waiver of Witness Fee
I agree to waive all rights, claims or interest in any witness fee I may be eligible to
receive pursuant to 28 U.S.C. § 1821, for my appearance at any Grand Jury, witness

conference or court proceeding.

5. Abandonment of Seized Items

         

By signing this plea agreement, I hereby abandon my interest in, and consent to
the official use, destruction or other disposition of each item obtained by any law
enforcement agency during the course of the investigation, unless such item is
specifically provided for in another provision of this plea agreement. I further waive any
and all notice of any proceeding to implement the official use, destruction, abandonment,
or other disposition of such items.

6. Deportation

I understand that, if I am not a citizen of the United States, I may be subject to
deportation from the United States as a result of my conviction for the offense(s) to
which I am pleading guilty.

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7. Denial of Federal Benefits

At the discretion of the court, I understand I may also be denied any or all federal
benefits, as that term is defined in 21 U.S.C. § 862, (a) for up to five years if this is my
first conviction of a federal or state offense consisting of the distribution of controlled
substances, or up to one year if this is my first conviction of a federal or state offense
involving the possession of a controlled substance; or (b) for up to ten years if this is my
second conviction of a federal or state offense consisting of the distribution of controlled
substances, or up to five years if this is my second or more conviction of a federal or state
offense involving the possession of a controlled substance. If this is my third or more
conviction of a federal or state offense consisting of the distribution of controlled
substances, I understand I could be permanently ineligible for all federal benefits, as that
term is defined in 21 U.S.C. § 862(d).

8. Admissibility of Statements

   

I understand if I fail to plead guilty in accordance with this agreement or withdraw
my plea(s) of guilty, any statements I make (including this plea agreement, and my
admission of guilt) during or in preparation for any guilty plea hearing, sentencing
hearing, or other hearing and any statements I make or have made to law enforcement
agents, in any setting (including during a proffer), may be used against me in this or any
other proceeding. I knowingly waive any right I may have under the Constitution, any
statute, rule or other source of law to have such statements, or evidence derived from
such statements, suppressed or excluded from being admitted into evidence and stipulate
that such statements can be admitted into evidence. If, having fully complied with this
plea agreement, I withdraw my plea(s) of guilty solely because the Court has rejected the
plea agreement, then the provisions of this paragraph will not apply.

9. Additional Obligations

 

. Lagree not to commit any of the following acts:

e attempt to withdraw my guilty plea, unless the Court rejects the plea
agreement;

e deny I committed any crime to which I have pled guilty;

make or adopt any arguments or objections to the presentence report that

are inconsistent with this plea agreement;

obstruct justice;

fail to comply with any provision of this plea agreement;

commit any other crime;

e make a false statement; or
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e fail to enter my plea of guilty when scheduled to do so, unless a
continuance is agreed to by the United States Attorney’s Office and granted
by the Court.

D. REMEDIES AVAILABLE TO THE UNITED STATES

 

I hereby stipulate and agree that the United States Attorney’s office may, at its
election, pursue any or all of the following remedies if I fail to comply with any provision
of this agreement: (a) declare this plea agreement void; (b) refuse to dismiss any charges;
(c) reinstate any dismissed charges; (d) file new charges; (e) withdraw any substantial
assistance motion made, regardless of whether substantial assistance has been performed;
(f) refuse to abide by any provision, stipulations, and/or recommendations contained in
this plea agreement; or (g) take any other action provided for under this agreement or by
statute, regulation or court rule.

In addition, I agree if, for any reason, my conviction is set aside, or I fail to
comply with any obligation under the plea agreement, the United States may file, by
indictment or information, any charges against me which were filed and/or could have
been filed concerning the matters involved in the instant investigation. I hereby waive
my right under Federal Rule of Criminal Procedure 7 to be proceeded against by
indictment and consent to the filing of an information against me concerning any such
charges. I also hereby waive any statute of limitations defense as to any such charges.

The remedies set forth above are cumulative and not mutually exclusive. The
United States’ election of any of these remedies, other than declaring this plea agreement
void, does not, in any way, terminate my obligation to comply with the terms of the plea
agreement. The use of “if” in this section does not mean “if, and only if.”

E. GENERAL PROVISIONS

1. Limitation of Agreement

   

This agreement only binds the United States Attorney’s Office for the Western
District of Virginia. It does not bind any state or local prosecutor, other United States
Attorney’s Office or other office or agency of the United States Government, including,
but not limited to, the Tax Division of the United States Department of Justice, or the
Internal Revenue Service of the United States Department of the Treasury. These
individuals and agencies remain free to prosecute me for any offense(s) committed within
their respective jurisdictions.

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I understand my signature on this agreement constitutes a binding offer by me to
enter into this agreement. I understand the United States has not accepted my offer until
it signs the agreement.

3. Effective Representation

 

I have discussed the terms of the foregoing plea agreement and all matters
pertaining to the charges against me with my attorney and am fully satisfied with my
attorney and my attorney’s advice. At this time, I have no dissatisfaction or complaint
with my attorney’s representation. I agree to make known to the Court no later than at
the time of sentencing any dissatisfaction or complaint I may have with my attorney’s
representation.

4. Misconduct

If I have any information concerning any conduct of any government attorney,
agent, employee, or contractor which could be construed as misconduct or an ethical,
civil, or criminal violation, I agree to make such conduct known to the United States
Attorney’s Office and the Court, in writing, as soon as possible, but no later than my
sentencing hearing.

5. Final Matters

I understand a thorough presentence investigation will be conducted and
sentencing recommendations independent of the United States Attorney’s Office will be
made by the presentence preparer, which the Court may adopt or take into consideration.
I understand any calculation regarding the guidelines by the United States Attorney’s
Office or by my attorney is speculative and is not binding upon the Court, the Probation
Office or the United States Attorney’s Office. No guarantee has been made by anyone
regarding the effect of the guidelines on my case.

I understand the prosecution will be free to allocute or describe the nature of this
offense and the evidence in this case and make any recommendations not prohibited by
this agreement.

I understand the United States retains the right, notwithstanding any provision in
this plea agreement, to inform the Probation Office and the Court of all relevant facts, to
address the Court with respect to the nature and seriousness of the offense(s), to respond
to any questions raised by the Court, to correct any inaccuracies or inadequacies in the

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presentence report and to respond to any statements made to the Court by or on behalf of
the defendant.

I willingly stipulate there is a sufficient factual basis to support each and every
material factual allegation contained within the charging document(s) to which I am
pleading guilty.

I understand this agreement does not apply to any crimes or charges not addressed
in this agreement. I understand if I should testify falsely in this or in a related proceeding
I may be prosecuted for perjury and statements I may have given authorities pursuant to
this agreement may be used against me in such a proceeding.

I understand my attorney will be free to argue any mitigating factors on my behalf;
to the extent they are not inconsistent with the terms of this agreement. I understand I
will have an opportunity to personally address the Court prior to sentence being imposed.

This writing sets forth the entire understanding between the parties and constitutes
the complete plea agreement between the United States Attorney for the Western District
of Virginia and me, and no other additional terms or agreements shall be entered except
and unless those other terms or agreements are in writing and signed by the parties. This
plea agreement supersedes all prior understandings, promises, agreements, or conditions,
if any, between the United States and me.

I have consulted with my attorney and fully understand all my rights. I have read
this plea agreement and carefully reviewed every part of it with my attorney. I
understand this agreement and I voluntarily agree to it. I have not been coerced,
threatened, or promised anything other than the terms of this plea agreement, described
above, in exchange for my plea of guilty. Being aware of all of the possible
consequences of my plea, I have independently decided to enter this plea of my own free
will, and am affirming that agreement on this date and by my signature below.

Date:
Warren Evans, Jr., Defendant
I have fully explained all rights available to my client with respect to the offenses
listed in the pending charging document(s). I have carefully reviewed every part of this

plea agreement with my client. To my knowledge, my client’s decision to enter into this
agreement is an informed and voluntary one.

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If I will continue to represent my client regarding the United States’ efforts to
collect any monetary obligations, I will notify the United States Attorney’s Office,
ATIN: Financial Litigation Unit, P.O. Box 1709, Roanoke, Virginia 24008-1709, in
writing, of the fact of my continued legal representation within 10 days of the entry of
judgment in this case.

Date: Z - 25 -@ Ce :
R. Darren Bostie, a)

Counsel for Defendant

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Assistant WS. AYTORNEN
VA STATE BAR No. THB

   
    

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